                                                                 IT IS HEREBY ADJUDGED and
                                                                 DECREED this is DENIED.

                                                                  Dated: September 18, 2018


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                                                                 Eddward P. Ballinger Jr., Bankruptcy Judge
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   8                              UNITED STATES BANKRUPTCY COURT

   9                                 FOR THE DISTRICT OF ARIZONA

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  12
       In re:

       Michael N. Desvigne,

                       Debtor.
                                          IE             Case Number: 2:18-bk-04969-EPB

                                                         (Chapter 7)

                                                         ORDER GRANTING PRO HAC VICE
                                                         APPLICATION
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  14            Melissa S. Hayward of Hayward & Associates PPLC, having filed her Pro Hac Vice

  15 Application, together with a Designation of Local Counsel and Consent Thereto; said

  16 Application having been noticed, no objections having been made, and the Court being fully

  17 apprised in the premises, and good cause appearing, it is hereby,
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  18            ORDERED that said Application is hereby granted, and Melissa S. Hayward is hereby

  19 admitted to practice in the above-entitled Court for the purposes of the above-entitled matter

  20 and any related adversary proceedings only.

  21                                               ORDERED ACCORDINGLY,
                                                   (Signed and dated above)
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